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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THEDISTRICT OF COLUMBIA

                                               )
  UNITED STATES OF AMERICA,                    )
                                               ) Criminal No. 1:22-cr-00015-APM
                       v.                      )
                                               )
                                               )
  KELLY MEGGS,                                 )
                                               )
                 Defendant.                    )
                                               )

           SUPPLEMENTAL EXHIBITS TO SENTENCING MEMORANDUM

       Mr. Meggs submits the attached additional correspondence in support of his Sentencing

Memorandum, (May 5, 2023) (ECF No. 569), which will be addressed in Mr. Meggs’s allocution

at sentencing.



 Dated: May 25, 2023                     Respectfully submitted,

                                                /s/ Stanley E. Woodward, Jr.
                                         Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
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                                         Counsel for Defendant Kelly Meggs
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                                Certificate of Electronic Service

       I hereby certify that on May 25, 2023, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF System, with consequent service on all parties of record.

                                           Respectfully submitted,

                                                  /s/ Stanley E. Woodward, Jr.
                                           Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
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